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Proposed Co-Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         : Chapter 11
                                                               :
RUBIE’S COSTUME COMPANY, INC., et al.                          : Case Nos. 20-71970 thru 20-71975 (AST)
                                                               :
                                       Debtors.                : (Proposed for Joint Administration)
                                                               :
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                 NOTICE OF COMMENCEMENT OF CHAPTER 11 CASES
                 AND HEARING TO CONSIDER “FIRST DAY” MOTIONS

               PLEASE TAKE NOTICE that, on April 30, 2020, Rubie’s Costume Company,
Inc. (“Rubies”), Forum Novelties Inc. (“Forum”), Buyseasons Enterprises, LLC (“Buyseasons”),
Masquerade, LLC (“Masquerade”), The Diamond Collection LLC (“Diamond Collection”), and
Rubie’s Masquerade Company LLC (“Rubie’s Masquerade”), Debtors and Debtors-in-
Possession (collectively, the “Debtors”), each having filed a voluntary petition for reorganization
under Chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United
States Bankruptcy Court for the Eastern District of New York;

              PLEASE TAKE FURTHER NOTICE THAT A TELEPHONIC HEARING
HAS BEEN SCHEDULED FOR MAY 5, 2020 AT 3:00 PM, OR AS SOON
THEREAFTER AS COUNSEL MAY BE HEARD BEFORE THE HONORABLE ALAN
S. TRUST, UNITED STATES BANKRUPTCY JUDGE, UNITED STATES
BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF NEW YORK, (the
“Hearing”), and may be adjourned from time to time without further notice other than an
announcement at the Hearing, to consider the following motions:

                1.       Debtors’ Emergency Motion for Entry of Interim Order (I) Authorizing
                         the Debtor’s Use Of Cash Collateral, (II) Granting Adequate Protection,
                         (III) Scheduling a Final Hearing and (IV) Granting Related Relief. [dkt
                         item 10] (the “Cash Collateral Motion”).

                2.       Debtors’ Motion for Interim and Final Orders Pursuant to Bankruptcy
                         Code Sections 105, 363(b), 507(a), 541, 1107(a), and 1108, Authorizing,
                         But Not Directing, the Debtors Inter Alia to Pay Prepetition Wages,
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                      Compensation, and Employee Benefits. [dkt item 11] (the “Employee
                      Wage Motion”).

               3.     Debtors’ Motion for Interim and Final Orders Authorizing Continued Use
                      of Existing Cash Management System, Bank Accounts, and Business
                      Forms. [dkt item 8] (the “Cash Management Motion”).

               4.     Debtors’ Motion for Interim and Final Orders Pursuant to Bankruptcy
                      Code Sections 105, 363, 503, 1107(A) and 1108 Authorizing Debtors to
                      Maintain Existing Insurance Policies and Pay All Policy Premiums
                      Arising Thereunder or in Connection therewith. [dkt item 5] (the
                      “Insurance Motion”).

               5.     Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
                      Debtors to Pay Certain Prepetition Claims of Critical Vendors, and (II)
                      Granting Related Relief. [dkt item 9] (the “Critical Vendor Motion”). The
                      Critical Vendor Motion is currently scheduled for status only.

              PLEASE TAKE FURTHER NOTICE that a copy of each of the Motions and
Applications may be obtained by either: (i) accessing the website established by KCC the
Debtors’ notice and claims agent at www.kccllc.net/rubies; (ii) accessing the Court’s website at
www.nysb.uscourts.gov, or (iii) contacting the Office of the Clerk of the Court at, Central Islip,
New York. Note that a PACER password is needed to access documents on the Court’s website.




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               PLEASE TAKE FURTHER NOTICE that the following is the case number,
and federal tax identification number for each of the Debtors:


Name of Debtor:                           Case Number:       Tax Identification No.:
Rubies Costume Company, Inc.              20-71970 (AST)             XX-XXXXXXX
Forum Novelties, Inc.                     20-71971 (AST)             XX-XXXXXXX
Diamond Collection, LLC                   20-71972 (AST)             XX-XXXXXXX
Buyseasons Enterprises LLC                20-71973 (AST)             XX-XXXXXXX
Masquerade LLC                            20-71974 (AST)             XX-XXXXXXX
Rubie’s Masquerade Co. (USA)              20-71975 (AST)             XX-XXXXXXX

Dated: Garden City, New York
       May 1, 2020
                                         RUBIE’S COSTUME COMPANY, INC., et al.,
                                         Debtors and Debtors in Possession
                                         By their Proposed Co-Counsel

                                         MEYER, SUOZZI, ENGLISH & KLEIN, P.C.
                                         By:

                                         /s/ Edward J. LoBello
                                         Edward J. LoBello
                                         Howard B. Kleinberg
                                         Jordan D. Weiss
                                         990 Stewart Avenue, Suite 300
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                                         - and -

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